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Schedule A-1                                                                                                                                              W. E. Cox




                                                                                   Invoice Value (May USD equivalent (CIF) (May
Category       Container No.    House B/L No.   Master B/L No.       Cargo                                                             Underwriter or Agent                    Insured                            Shipper                        Consignee                Load Port             Disport
                                                                                        Change)              Change)


    1          TXGU6968184      DSV05679208                         FERRIUP           JPY9,339,000              $57,938.69                AXA XL London                        Glanbia                       Glanbia Foods, Inc              Glanbia Japan K.K.          Norfolk, USA         Tokyo, Japan
    1          MSDU6336029       6260025805                      Beauty Products      $197,000.00              $197,000.00                MSIG Malaysia                Luxury Ventures PTE LTD              Valram Luxury Linited         Luxury Ventures PTE LTD        Norfolk, USA          Singapore
    1          MSNU7758902                                       Beauty Products
                                 6260025809     MEDUVD625665                          $450,926.62              $450,926.62                MSIG Malaysia               Envico Enterprises SDN Bhd                 Expeditors                  Expeditors Malaysia         Norfolk, USA     Port Klang, Malaysia
    1          MSDU7285306                                       Beauty Products
                                                                                                                                                                Alchemy International Holdings, LLC dba
    1          CAIU6327116        40093112      MEDUVD631234     Bronze Pre-mix      USD107,699.95             $107,699.96                  STARR USA                                                      SCM Metal Products Inc        Prorite (Malaysia) Sdn BHD      Norfolk, USA     Port Klang, Malaysia
                                                                                                                                                                      KYMERA INTERNATIONAL
    1          ZCSU6630861                      ZIMUORF971117     Soybean Meal        $51,221.69                $51,221.69                Allianz Sri Lanka              Nelna Farm (Pvt) Ltd             Fornazor International Inc       Nelna Farm (Private) Ltd       Norfolk, USA     Colombo, Sri Lanka
    1          TRHU1487720     SFMASE00037626   FMASE00037626       Auto Parts       $206,486.32               $206,486.32                   Uninsured                      Delcoline, Inc.                     Delcoline Inc.         Al-Maglouth Auo Spare parts LLC   Baltimore, MD   Ad Dammam, Saudi Arabia
                                                                                   $94,000 (or a part                                 RB Jones Marine / Atain
    1          CAAU5948590                                         Scrap Metal                          $94,000 (or a part thereof)                                        Gravita India Ltd.             North American Energy LLC           Gravita India Ltd.         Baltimore,MD     Mundra Guarat, India
                                                                                       thereof)                                                Ins. Co.
